                  Case 1:18-cv-12451-NMG Document 21 Filed 02/25/19 Page 1 of 5


                     Case 1:18-cv-12451-NMG Document 3 Filed 11!28/18 Page 1 of 2

                              UNITED STATES DISTRICT COURT
                                                             for the
                                        DISTRICT OF MASSACHUSETTS



    US SECURITIES AND EXCHANGE COMMISSION
                                       Plain~~
                                                                          Civil Action No.:
                                                                          1:18—CV-12451—NMG

                   MORRIE TOBTI~,-E~~L.__
                                      Dejendanl                        - ~--~.. .




                                         SUMMONS IN A CIVIL ACTION
To:(Dejendan~'s name and address)


                                                              DANIEL LACH~R
     A lawsuit has been filed against you.

    Within 21 days after service of this summons on you(not counting the day you received it) — or 60
days if you are the United States or a United States agency, or an officer or employee ofthe United States
described in Fed. R. Civ. P. 12(a)(2) or(3) —you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 ofthe Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiffs attorney, whose name and address are:

                                                            Kathleen Shields, Esq
                                                  SEC. 33 Arch St. #2400. Boston. MA 02110

     If you fail to respond,judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.




 ROBERT M.FARRELL
CLERIC OF COURT


  /s/ —Sherry Jones
Sigrraterre ojClerk or Deputy Clerk



ISSUED ON 2x18-11-28 10:24:32.0, Clcrk USDC DMA
                  Case 1:18-cv-12451-NMG Document 21 Filed 02/25/19 Page 2 of 5


                       Case 1:18-cv-12451-NMG Document 3 Filed 11/28/18 Page 2 of 2


           Civil Action No.: 1:18—CV-12451—NMG
                                                       PROOF OF SERVICE

                 (This section should not befiled with the court unless required by Fed. R. Civ P. 4(1))

               This summons for(name of individual and title, if any)

           was received by me on (date)


        ~ I personally served the summons on the individual at(place)

                                                           on (date)     __                             ; or


        ~ I ~cfrthe summons at the individual's residence or usual place of abode with(name)

                                                   a person ofsuitable age and discretion who resides there,

           on (date)                       ,and mailed a copy to the individual's last known address; or

        ~ I served the summons on(name of individual)                                                    ,who is

           designated by law to accept service of process on behalf of(name of organization)

                                                                       on(date)                         ;or

        ~ I returned the summons unexecuted because                                                            ; or


        ~ Other(specify)



           My fees are $            for travel and $             for services, for a total of$.


           I declare under penalty of perjury that this information is true.




                           Date                                                   Server's Signature


                                                                               Printed name and title




                                                                                  Server's Address

Additional information regarding attempted service, etc:
                  Case 1:18-cv-12451-NMG Document 21 Filed 02/25/19 Page 3 of 5



U.S. Department of Justice
United States Marshals Service




                                REQUEST
       FOR SERVICE ABROAD OF JUDICIAL OR EXTRAJUDICIAL DOCUMENTS
                                                      DEMANDS
                             A UX FINS DE SIGNIFICATION OU DE NOTIFICATION A L'ETRANGER
                                       D'UN ACTS JUDICIAIRE OU EXTRAJUDICIAIRE

                         Convention on the service abroad of judicial and extrajudicial documents in civil or
                                    commercial matters, signed at The Hague, November 15, 1965.
                        Convention relative a la signification et a la notification a I'etranger des acfesjudiciaries ou
                        extrajudiciaires en matiere civile ou Commerciale, signee a La Haye, le 75 novembre 1965.


                  Identity and address of the applicant                                 Address of receiving authority
                      Identite et adresse du requerant                                  Adresse de lautorite destinataire

             Kathleen Shields, Attorney                                    Obergericht des Kantons Zurich
             Securities and Exchange Commission                            I nternationale Rechtshilfe
             33 Arch St., 24th Floor                                       Hirschengraben 13/15
             Boston, MA 02110                                              Postfach
             Attorney has the authority to make this request               8021 Zurich 1
             pursuant to U.S. Fed. R. Civil Procedure 4                    Switzerland

   The undersigned applicant has the honour to transmit -- in duplicate--the documents listed below and, in conformity
   with article 5 of the above-mentioned Convention, requests prompt service of one copy thereof on the addressee, i.e.,
       (identity and address)
   Le requerant soussignee a 1'honneur de faire parvenir—en double exemplaire—a I'autorrte destinataire !es docciments ci-dessous
   enumeres, en la priant, confo~mement a Particle 5 de la Convention precitee, d'en faire remettre sans retard un exemplaire au
   destinataire, a savoir.
       (identite et adresse)
                             Daniel Lacher, Zimikerweg 14, CH-8604 Volketswil, Switzerland


0(a) in accordance with the provisions of sub-paragraph (a) of the first paragraph of article 5 of the Convention.*
  a)selon les formes legales (article 5 alines premier, lettre a).
  (b) in accordance with the following particular method (sub-paragraph (b) of the first paragraph of article 5)':
   b)selon la forme pa~trculiere suivante (article 5, alines premier, leltre b)




❑(c) by delivery to the addressee, if he accepts it voluntarily (second paragraph of article 5)':
  c)le cas echeant, par remise simple (article 5, alines 2J.

   The authority is requested to return or to have returned to the applicant a copy of the documents and of the annexes
   with a certificate as provided on the reverse side.
   Cette autonte est priee de renvoyer ou de faire renvoyer au requerant un exemplaire de I'acte - et de ses annexes - avec
   /'attestation frgurant au verso.

   List of documents                                                     Done at Boston, MA                           ,the 10 Dec. 2018
   Enumeration des Aieces                                                Fait a                                       , le

   Summons
                                                                         Signature and/or stamp
   Complaint                                                             Signature evou cachet

                                                                            l~C~~~~n ~~S~1~t.~.Q~,~n

 'Delete if inappropriate                                                                                                                Form USM-94
  Rayer les mentions inufiles.                                                                                                                 Est. 11/77
                                                                          (Formerly OBD-116, which was formerly LAA-116, both of which may still be used)
                Case 1:18-cv-12451-NMG Document 21 Filed 02/25/19 Page 4 of 5




                                                          CERTIFICATE
                                                          A TTESTATION
The undersigned authority has the honour to certify, in conformity with article 6 of the Convention,
L'autorite soussignee a !'honneur d'attester conformement a !'article 6 de ladife Convention,

l~that the document has been served
  7)que la demande a ete executee
      — the (date) — le (date) 22. :TI , r_~j
      — at (place, street, number) - a (loca/ite, rue, numero)
                                                               ~.i,~v..~l'~.~-~~ qty
                                                                 ~~U~1 v~llc~-t—S~:II
        — in one of the following methods authorized by article 5:
        — dans une des formes suivantes prevues a /'article 5:

         ~;(a) in accordance with the provisions of sub-paragraph (a) of the first paragraph of article 5 of the Convention".
           a)selon les formes legs/es (article 5. alines premier, leftre a)

          ❑ (b) in accordance with the following particular method:
             b)selon !a forme parficuliere suivanfe:

          ❑ (c) by delivery to the addressee, who accepted it voluntarily.'
             c)par remise simple.


     The documents referred to in the request have been delivered to:
     Les documents menfionnes dans la demande ont ete remis a:
         - (identity and description of person)
         - (Identite et qualite de la personne)     ,—
           <Dcr-~,i e:1 11~ c~r~-           i~ ~~srnti4~lr, ~r n ~~c:~o~
         - relationship to the addressee family, business or other
         - liens de Parente de subordination ou autres avec le destinataire de I'acte




 2)that the document has not been served, by reason of the following facts`:
 2)que la demande n'a pas ete executee, en raison des faits suivants:




 In conformity with the second paragraph of article 12 of the Convention, the applicant is requested to pay or reimburse
 the expenses detailed in the attached statement"
 Conformement a /'article 72, alines 2, de ladite Convention, le requerant est prie de payer ou de rembourser les frais
 dont le detail figure au memoire cijoint.


 ANNEXES
 Annexes
 Documents returned:
 Pieces renvoyees




                                                                                                               . _
                                                                           Done at      ~,~/~'L -lam            ,the       _, ~l(, /~_
 In appropriate cases, documents establishing the service:                 Fait a                               , le
 Le cas ~cheant, les documentsjustificatifs de Pexect~tion.~
                                                                          Signature and/or stamp
                                                                          Signature et/ou cachet
            Case 1:18-cv-12451-NMG Document 21 Filed 02/25/19 Page 5 of 5

~,

                              SUMMARY OF THE DOCUMENT TO BE SERVED
                                  ~L~1VIENTS ESSENTIELS DE L'ACTE
      Convention on the service abroad ofjudicial and extrajudicial documents In civil or commercial
                            matters, signed at The Hague, November 15, 1965.

     Convention ~lative ~ la sign cation et ~ !a notification a !'stranger des acfesjudiciaires ou extrajudiciaires
                   en mati~re civile ou Commerciale, sign~e ~ La Haye,!e 15 novembre 9965.

                                              (article 5,fourth paragraph)
                                                (article 5, alin~a quatre)

       Name and address of the requesting authority:
       Nom of adresse de I'autorit~ requ~rante:
       Securities and Exchange Commission, 33 Arch St., 24th Floor, Boston, MA 02110("SEC")

       Particulars of the parties:
       Identife des parries:
       SEC is a government agency. Mr. Lacher is an individual who is alleged to have committed securities fraud.


                                                    JUDICIAL DOCUMENT
                                                      ACTS JUDIGA 1RE

       Nature and purpose of the document:
       Natu~ et objet de I'acte:
       Complaint in a federal court lawsuit alleging violations of securities laws.


       Nature and purpose of the proceedings and, where appropriate, the amount in dispute:
       Nature et objet de 1'insfance, fe cas ~ch~anf, le montant du litige:
       SEC is suing Mr. Lacher alleging that he committed securities fraud.

       Date and place for entering appearance:
       Date et lieu de !a comparution:
       The answer should be filed with the Court within 21 days after service of the Complaint.

       Court which has given judgment**:
       Jundicfion qui a rendu la decision:
       The Summons was issued by the U.S. District Court for the District of Massachusetts.

       Dale of judgment*":
       Date de la decision:
       The Summons is dated November 28, 2018.

      Time limits stated in the document"`:
      Indication des delais figurant dans !'acte:
       The answer is due within 21 days after service of the Complaint.

                                                EXTRAJUDICIAL DOCUMENT
                                                  ACTS EXTRAJUDIClA1RE

      Nature and purpose of the document:
      Nature et objet de I'acte:



      Time limits stated in the document:""
      Indication des de/ass frgurant dans 1acte:
